            Case 1:16-cv-11205-PBS Document 1 Filed 06/23/16 Page 1 of 9




                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS

____________________________________
                                    )
MARCOS DaSILVA and MATTEUS          )
 FERREIRA, on behalf of themselves  )
and all others similarly situated,  )
                                    )
Plaintiffs,                         )               Case No.
                                    )
v.                                  )
                                    )
BORDER TRANSFER OF MA, INC.         )
Defendant.                          )
____________________________________)


                               CLASS ACTION COMPLAINT

       I.      INTRODUCTION

       1.      This is an action brought on behalf of current and former Massachusetts delivery

drivers of Defendant Border Transfer of MA, Inc. (“Border Transfer”), who were deprived of

wages due them under the Massachusetts Wage Act in violation of M.G.L. c. 149, § 148. The

above-named plaintiffs bring this action on behalf of themselves and on behalf of a class of

similarly situated persons who have worked as delivery drivers for Border Transfer in

Massachusetts for statutory and common law violations that stem from the same wage act

violations.

II.    THE PARTIES

       2.      Plaintiff Marcos DaSilva is an adult resident of Sudbury, Massachusetts. From

approximately November 2014 to July 2015, Plaintiff DaSilva worked for Border Transfer in the

Commonwealth of Massachusetts as a delivery driver delivering Sears merchandise.
             Case 1:16-cv-11205-PBS Document 1 Filed 06/23/16 Page 2 of 9




        3.       Plaintiff Matt Ferreira is an adult resident of Everett, Massachusetts. From

approximately April 2012 to November 2015, Plaintiff Ferreira worked for Border Transfer in

the Commonwealth of Massachusetts as a delivery driver delivering Sears merchandise.

        4.       The above-named plaintiffs bring this action on behalf of a class of similarly-

situated individuals, namely, all other persons and who have executed contract carrier

agreements (either personally or on behalf of corporate entities) and who personally provided

delivery services for Border Transfer in Massachusetts.

        5.       Defendant Border Transfer of MA, Inc., is a foreign corporation incorporated

under the laws of Michigan, with its headquarters in Hendersonville, Tennessee. Border

Transfer does business in Massachusetts and operates delivery facilities in Massachusetts.

III.    JURISDICTION

        6.       The Court has personal jurisdiction over Plaintiffs and the class they seek to represent

because they are citizens of the Commonwealth of Massachusetts and work in the Commonwealth of

Massachusetts.

        7.       The Court has personal jurisdiction over Defendant Border Transfer because it does

business in the Commonwealth of Massachusetts and its conduct in the Commonwealth of

Massachusetts underlies all claims in this suit.

        8.       The Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332(a) as the

parties are citizens of different states and the amount in controversy exceeds $75,000.

IV.     STATEMENT OF FACTS

        9.       Border Transfer is in the business of providing the delivery of retail merchandise

for its large retail store/big box customers. Border Transfer provides delivery services for

companies such as Sears. In order to carry out these deliveries, Border Transfer purports to




                                                    2
            Case 1:16-cv-11205-PBS Document 1 Filed 06/23/16 Page 3 of 9




contract with individuals such as Plaintiffs, to drive a delivery truck and to deliver retail

merchandise to Sears customers’ homes.

       10.       In order to do this work, Border Transfer required the Plaintiffs to sign an

agreement which stated that Plaintiffs were independent contractors.

       11.     Although Border Transfer thus classified the Plaintiffs, as well as other class

plaintiffs, as independent contractors, the control manifested over the drivers by Border Transfer

as well as the drivers’ inability to maintain an independently established business demonstrates

that they qualify as Border Transfer’s employees under the Massachusetts Wage Act. The

following facts support this claim:

       a.      Plaintiffs, as well as numerous other class plaintiffs, are required to report to a

               facility maintained by Border Transfer and Sears in Westwood, Massachusetts, by

               6 a.m., five days a week, at which time they would be provided with a list of

               deliveries to make.

       b.      Plaintiffs, as well as other class plaintiffs, are required to attend 15 to 20-minute

               morning meetings with Border Transfer and Sears personnel where they receive

               instruction on aspects of deliveries such as how to assemble equipment and how

               to interact with customers.

       c.      Plaintiffs, as well as the other class plaintiffs, are instructed to load the goods to

               be delivered onto their trucks in a specific order.

       d.      Plaintiffs, as well as other class plaintiffs, are required to make deliveries in the

               order dictated by daily manifests provided to them by Border Transfer. Plaintiffs

               are further required to make deliveries in two-hour time windows specified by




                                                  3
     Case 1:16-cv-11205-PBS Document 1 Filed 06/23/16 Page 4 of 9




        Border Transfer in the manifests and Border Transfer and Sears specify how long

        Plaintiffs are given to make each delivery.

e.      Plaintiffs, as well as other class plaintiffs, are required by Border Transfer and

        Sears to log the completion of each delivery throughout the day on a cellphone

        application monitored.

f.      Plaintiffs, as well as the other class plaintiffs, are required to wear uniforms when

        making deliveries for Border Transfer.

g.      Plaintiffs, as well as the other class plaintiffs, are required to carry a cell phone so

        that they may receive calls from Border Transfer and Sears. Border Transfer and

        Sears contact Plaintiffs during the day with instructions related to cancellations

        and rescheduling of deliveries.

h.      Plaintiffs, as well as the other class plaintiffs, are required to be in contact with

        Border Transfer and Sears dispatchers regarding the status of deliveries, including

        whenever there was a problem with a delivery.

i.      Plaintiffs, as well as other class plaintiffs, are required to return haul-aways,

        equipment that customers want removed from their homes or businesses after

        delivery of new equipment, back to the warehouse in Westwood, Massachusetts

        the same day.

j.      Plaintiffs, as well as other class plaintiffs, are not permitted to use helpers to make

        deliveries unless those helpers have passed background checks conducted by an

        agent of Border Transfer.

k.      Border Transfer retained the right to terminate any of the delivery drivers’

        helpers.




                                           4
           Case 1:16-cv-11205-PBS Document 1 Filed 06/23/16 Page 5 of 9




        12.      Border Transfer requires delivery drivers with which it contracts to have or lease

a truck that meets specifications determined by Border Transfer.

        13.      Border Transfer keeps track of Plaintiffs’ performance through customer ratings

and posts their scores daily. Border Transfer will suspend Plaintiffs if their rating drops below a

certain level.

        14.      Border Transfer also requires delivery drivers with which it contracts to obtain

insurance, including automobile liability, commercial general liability, umbrella liability, cargo,

and worker’s compensation coverage, at levels dictated by Border Transfer.

        15.      Border Transfer retained the right to terminate the contract with its delivery

drivers without cause.

        16.      Plaintiffs, as well as the other class plaintiffs, performed and/or perform work

which is integral to the business of Border Transfer – i.e., they perform delivery services and

Border Transfer is engaged in the business of providing delivery services to its customers.

        17.      Plaintiffs, as well as the other class plaintiffs, do not have an independently

established trade or business in that they are dependent upon Border Transfer for their work, they

do not negotiate with Border Transfer customers regarding the rates charged for their services,

and they are not permitted to contact Border Transfer customers independent of Border Transfer.

        18.      Plaintiffs are not permitted to subcontract or assign their rights under their

agreement with Border Transfer to another delivery driver.

        19.      Border Transfer deducts certain expenses directly from the compensation it pays,

including when Border Transfer determines, in its sole discretion, that a delivery has been made

in a manner it deems to be unsatisfactory (e.g., damaged goods, damage to customer property),




                                                   5
          Case 1:16-cv-11205-PBS Document 1 Filed 06/23/16 Page 6 of 9




Border Transfer will deduct the costs of such damage from pay checks. Border Transfer also

makes deductions for things such as the costs of providing uniforms.

       20.     When Plaintiffs are unable to complete a delivery or when Plaintiffs are unable to

work after they have confirmed that they are available, Border Transfer will deduct the costs of

paying for another driver to complete those deliveries.

       21.     Border Transfer further compels Plaintiffs to incur certain expenses which are

required to be borne by an employer, such as for worker’s compensation coverage, cargo

insurance, fuel costs, vehicle maintenance costs, and payments to helpers.

       22.     Plaintiffs DaSilva and Ferreira filed complaints with the Fair Labor Division of

the Massachusetts Attorney General’s Office claiming they were misclassified as independent

contractors and that Border Transfer’s practices violated M.G.L. c. 149, § 148, and the Attorney

General’s Officer authorized their private rights of action on June 20, 2016.

                                          COUNT I
                                    Massachusetts Wage Law

       23.     Plaintiffs reallege and incorporate by reference herein all allegations in all

preceding paragraphs.

       24.     Plaintiffs and similarly situated drivers are employees of the Defendant pursuant

to the Massachusetts Wage Law, M.G.L. c. 149, §148.

       25.     As a result, the actions of the Defendant as set forth above in deducting certain

expenses from its workers’ pay, including for damage claims and uniforms, and by requiring

those workers to pay for worker’s compensation coverage and cargo insurance are unlawful

under the Massachusetts Wage Law, M.G.L. c.149, §148, and c. 149, §150.




                                                 6
          Case 1:16-cv-11205-PBS Document 1 Filed 06/23/16 Page 7 of 9




                                          COUNT II
                                       Unjust Enrichment

       26.     Plaintiffs reallege and incorporate by reference herein all allegations in all

preceding paragraphs.

       27.     Border Transfer has been unjustly enriched through the use of independent

contractor agreements that violate Massachusetts public policy and are unenforceable. Border

Transfer is unjustly benefited by the Plaintiffs’ and other drivers’ performance of delivery

services while requiring Plaintiffs and other similarly situated to bear the costs of Border

Transfer’s delivery business.



                                    CLASS ALLEGATIONS

       28.     Plaintiffs bring this action individually and on behalf of a class of individuals

similarly situated pursuant to Fed. R. Civ. P. 23.

       29.     The class of individuals similarly situated are all individuals like the Plaintiffs

who have performed or currently perform delivery services for Border Transfer as delivery

drivers within the Commonwealth of Massachusetts.

       30.     The Class meets all the prerequisites of Rule 23 of the Federal Rules of Civil

Procedure. At least 40 drivers have performed delivery services for Border Transfer in

Massachusetts during the applicable statutory period.

       31.      The Plaintiffs’ claims related to their misclassification are not only typical of the

claims of putative class members, they are identical.

       32.     Plaintiffs will fairly and adequately represent and protect the interests of the

Class. Plaintiffs’ counsel is competent and experienced in litigating large wage and hour class

and collective actions.



                                                  7
            Case 1:16-cv-11205-PBS Document 1 Filed 06/23/16 Page 8 of 9




       33.     Common issues, such as whether Border Transfer’s policy of making

unauthorized deductions the Plaintiffs’ pay violates the Massachusetts Wage Act, predominate

over any individualized issues.

       34.     A class action is the superior method of trying these claims. The expense and

burden of individual litigation makes it impractical for members of the Class to seek redress

individually for the wrongful conduct alleged herein. Were each individual member required to

bring a separate lawsuit, the resulting multiplicity of proceedings would cause undue hardship

and expense for the litigants and the Court and create the risk of inconsistent rulings which

would be contrary to the interest of justice and equity.



                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs, on behalf of themselves and those similarly situated, seek the

following relief:

       A.      Certification of this case as a class action pursuant to Rule 23 of the Federal Rules

of Civil Procedure;

       B.      Designation of Plaintiffs as representative of the Rule 23 Class, and counsel of

record as Class Counsel;

       C.      Pre-judgment interest and post-judgment interest as provided by law;

       D.      Appropriate equitable and injunctive relief to remedy violations, including but not

necessarily limited to an order enjoining Defendants from continuing their unlawful practices;

       E.      Attorneys’ fees and costs of the action;

       F.      Statutory damages pursuant to M.G.L. c. 149, § 150;




                                                 8
             Case 1:16-cv-11205-PBS Document 1 Filed 06/23/16 Page 9 of 9




        G.      Issuance of a declaratory judgment that the practices complained of in this action

are unlawful under M.G.L. c. 149, § 148;

        H.      Application of statutory treble damages;

        K.      Such other relief as this Court shall deem just and proper.




        WHEREFORE, the Plaintiffs pray that this Court grant them appropriate compensatory

relief, attorneys’ fees, interests and costs to certify this action to proceed as a class action under

Rule 23.




 DATED: June 23, 2016                             Respectfully Submitted,
                                                  MARCOS DaSILVA, et al., individually
                                                  and on behalf of all others similarly
                                                  situated,
                                                  By their attorneys,


                                                    /s/ Harold L. Lichten
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